                     Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 1 of 21

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Southern
 ____________________             Texas
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           GWG Holdings, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             GWG Holdings LLC
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                2 ___
                                              ___      2 ___
                                                  6 – ___ 2 ___
                                                             2 ___
                                                                2 ___
                                                                   6 ___
                                                                      0 ___
                                                                         7
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              325         N. St. Paul Street
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              Suite 2650
                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              Dallas                      TX       75201
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Dallas
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  gwgh.com
                                              ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
                      Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 2 of 21

Debtor        GWG Holdings, Inc.
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          ✔ None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               5 ___
                                             ___  2 ___
                                                     3 ___
                                                        9

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          ✔ Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
                        Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 3 of 21

Debtor          GWG Holdings, Inc.
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        
                                          ✔ No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an             
                                          ✔ Yes.           See attached Schedule 1
                                                    Debtor _____________________________________________              Affiliate
                                                                                                         Relationship _________________________
       affiliate of the debtor?                              Southern District of Texas
                                                    District _____________________________________________ When          Contemporaneously    herewith
                                                                                                                             __________________
       List all cases. If more than 1,                                                                                        MM /    DD    / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                          
                                          ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have        
                                          ✔ No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________
                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 4 of 21
Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 5 of 21
                    Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 6 of 21




Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                                                                                   ☐ Check if this is an
Case number (if known): _________________________ Chapter   11                                         amended filing




                                                     Schedule 1
                       Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor


                On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
        petition in the United States Bankruptcy Court for the Southern District of Texas for relief under
        chapter 11 of title 11 of the United States Code. Contemporaneously herewith, the Debtors have
        moved for joint administration of these cases under the case number assigned to the chapter 11
        case of GWG Holdings, Inc. In its motion for joint administration, the Debtors request that any
        future filing of relief by any affiliate of GWG Holdings, Inc. for petitions for relief under chapter
        11 of the Bankruptcy Code, in addition to those included below, be jointly administered.

                 GWG Holdings, Inc.

                 GWG Life, LLC

                 GWG Life USA, LLC
              Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 7 of 21




Official Form 201A (12/15)

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                   )
    In re:                                                         )      Chapter 11
                                                                   )
    GWG Holdings, Inc., et al.,1                                   )
                                                                   )
    Debtors.                                                       )

                    Attachment to Voluntary Petition for Non-Individuals Filing for
                                   Bankruptcy under Chapter 11

      1. If any of the debtor’s securities are registered under Section 12 of the Securities
Exchange Act of 1934, the SEC file number is          001-36615                     .
       2. The following financial data is the latest available information and refers to the
debtor’s condition on September 30, 2021                             .
             a. Total assets                                                        $3,490,196,000
             b. Total debts (including debts listed in 2.c., below)                 $2,063,192,000
             c. Debt securities held by more than 500 holders                                         Approximate
                                                                                                      number of
                                                                                                      holders:

             secured ☒         unsecured         subordinated  $1,279,808,000                       27,700
             secured          unsecured         subordinated  $
             secured          unsecured         subordinated  $
             secured          unsecured         subordinated  $
             secured          unsecured         subordinated  $
             d. Number of shares of preferred stock                                                   128,388
             e. Number of shares common stock                                                         33,102,273.25



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); and GWG Life USA, LLC (5538). The
      location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address is 325 N.
      St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and these chapter 11
      cases is available at the website of the Debtors’ proposed claims and noticing agent: https://donlinrecano.com/gwg.
        Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 8 of 21




       Comments, if any:



        3. Brief description of debtor’s business: GWG Holdings, Inc. is a financial services firm
with two principal types of assets: (i) secondary life insurance assets; and (ii) economic interests
in independent non-affiliated entities that operate in the alternative asset and epigenetics spaces,
respectively.
        4. List the names of any person who directly or indirectly owns, controls, or holds, with
power to vote, 5% or more of the voting securities of debtor: Seller Trusts: 48.57%; Custody
Trusts: 29.72%; and Beneficient Capital Company, L.L.C.: 7.55%
           Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 9 of 21




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                     )
 In re:                                              )     Chapter 11
                                                     )
 GWG Holdings, Inc.,                                 )     Case No. ____________ (___)
                                                     )
 Debtor.                                             )
                                                     )
                                                     )


                            CORPORATE OWNERSHIP STATEMENT

        Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the following are corporations, other than a government unit, that directly or indirectly own 10%
of more of any class of the debtor’s equity interest:


                  Shareholder                      Approximate Percentage of Shares Held
                     None.                                         N/a
             Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 10 of 21




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                   )
    In re:                                                         )      Chapter 11
                                                                   )
    GWG Holdings, Inc., et al.,                                    )
                                                                   )
    Debtors.                                                       )


                                LIST OF EQUITY SECURITY HOLDERS1

             Debtor               Registered          Address of Equity Holder             Type of Percentage
                                   Holder                                                   Equity    Held
                                                                                           Security
    GWG Holdings, Inc.           Seller Trusts2         251 Little Falls Drive,            Common   48.57%
                                                        Wilmington, DE 19808                Stock


    GWG Holdings, Inc.              Custody             251 Little Falls Drive,            Common           29.72%
                                    Trusts3             Wilmington, DE 19808                Stock


1
      This list reflects holders of five percent or more of GWG Holdings, Inc.’s common stock. This list serves as the
      disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of Bankruptcy Procedure.
      By the Debtor’s Emergency Motion for Entry of an Order (I) Authorizing the Debtors to File a Consolidated List
      of Creditors and a Consolidated List of the 30 Largest Unsecured Creditors, (II) Waiving the Requirement to File
      a List of Equity Security Holders, (III) Authorizing the Debtors to Redact Certain Personal Identification
      Information, and (IV) Granting Related Relief filed contemporaneously herewith, the Debtor is requesting a
      waiver of the requirement under Bankruptcy Rule 1007 to file a list of all of its equity security holders.
2
      On January 12, 2018, GWG Holdings, Inc. entered into a Master Exchange Agreement (the “Master Exchange
      Agreement”) pursuant to which it agreed to engage in a strategic transaction (the “Exchange Transaction”) with
      The Beneficient Company Group, L.P. (“Beneficient”) and a series of trusts (the “Seller Trusts”), in which the
      parties agreed to an exchange of certain assets. The Seller Trusts are a group of individual common law trusts
      that received shares of common stock in the Exchange Transaction. The trustee of each of the Seller Trusts is
      Delaware Trust Company. The beneficiary of each of the Seller Trusts is MHT Financial, L.L.C. (“MHT”). The
      current members of MHT are Shawn T. Terry and Mike McGill. The names of the various trusts comprising the
      Seller Trusts that own the shares in the table above are as follows: The LT-1 Exchange Trust, The LT-2 Exchange
      Trust, The LT-3 Exchange Trust, The LT-4 Exchange Trust, The LT-5 Exchange Trust, The LT-6 Exchange
      Trust, The LT-7 Exchange Trust, The LT-8 Exchange Trust, The LT-9 Exchange Trust, The LT-12 Exchange
      Trust, The LT-14 Exchange Trust, The LT-15 Exchange Trust, The LT-16 Exchange Trust, The LT-17 Exchange
      Trust, The LT-18 Exchange Trust, The LT-19 Exchange Trust, and The LT-20 Exchange Trust.
3
      The Custody Trusts, which are variable interest entities, are a group of individual common law trusts that received
      shares of common stock from certain Seller Trusts that the Seller Trusts had received in connection with the
      Exchange Transaction. The certificate holders of the Custody Trusts are as follows: The LT-21 LiquidTrust, The
      LT-22 LiquidTrust, The LT-23 LiquidTrust, The LT-24 LiquidTrust, The LT-25 LiquidTrust, and The LT-26
      LiquidTrust (the “Liquid Trusts”). The trustee of each of the Liquid Trusts is John A. Stahl, who has sole decision-
      making authority with respect to the Custody Trusts. The names of the various trusts comprising the Custody
     Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 11 of 21




GWG Holdings, Inc.         Beneficient          325 N. Saint Paul St.          Common           7.55%
                            Capital                  Suite 4850                 Stock
                           Company,             Dallas, Texas 75201
                             L.L.C.




 Trusts and certain other custody trusts are as follows: LT-21A Custody Trust ; LT-22A Custody Trust; LT-23A
 Custody Trust; LT-24A Custody Trust; LT 25-A Custody Trust; and LT 26-A Custody Trust.

                                                   2
                         Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 12 of 21


      Fill in this information to identify the case:

                  GWG Holdings, Inc.
      Debtor name __________________________________________________________________
                                              Southern
      United States Bankruptcy Court for the: ______________________             Texas
                                                                     District of _________

      Case number (If known):   _________________________
                                                                                 (State)
                                                                                                                                              Check if this is an
                                                                                                                                                  amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                      12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete              Name, telephone number, and     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code        email address of creditor       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                contact                         debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                professional          unliquidated,   total claim amount and deduction for value of
                                                                                services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                      Total claim, if    Deduction for       Unsecured
                                                                                                                      partially          value of            claim
                                                                                                                      secured            collateral or
                                                                                                                                         setoff
     The Beneficient Company Group             Greg Ezell                                                                                                   $2,991,412
1    (USA), LLC
                                                                                Outside
                                               (214) 445-4732
     325 N. Saint Paul St.
                                               greg.ezell@beneficient.com
                                                                                Services
     Suite 4850
     Dallas, TX 75201

2
     Willkie Farr & Gallagher LLP              Antonio Yanez, Jr.               Legal                                                                       $1,588,359
     787 7th Ave, 38th Floor
     New York, NY 10019
                                               (212) 728-8725                   Services
     Attn: Accounts Receivable                 ayanez@willkie.com
     Houlihan Lokey Financial Advisors, Inc.                                                                                                               $1,370,000
3    10250 Constellation Blvd.
                                               Jeffrey Bollerman                Consulting/
     5th Floor                                 (310) 553-8871                   Professional
     Los Angeles, CA 90067
                                               JBollerman@HL.com                Services
     Computershare Inc.                        Philip Meyer
4                                              (201) 680-5130
                                                                                Outside                                                                    $426,764
     Dept CH 19228
     Palatine, IL
                                               Philip.Meyer@computershare.com   Services
     60055-9228
5
     US Bank Corporate Real Estate             Pam Haque                        Minneapolis                                                                $185,395
     P.O. Box 86 Tenant #507284                (612) 474-3121
     Minneapolis, MN 55486                     pam.haque@hines.com
                                                                                Office
                                                                                Landlord
6    KLDiscovery Ontrack, LLC                                                   Consulting/                                                                $182,852
     PO Box 8458232           Kit Davis
                              (703) 940-5106
                                                                                Professional
     Dallas, TX 75284-5823    Kit.Davis@kldiscovery.com                         Services
     Vedder Price PC                           Jeffrey Ansley                   Legal                                                                      $100,244
7
                                               (469) 895-4790
     222 N. LaSalle Street                     jansley@vedderprice.com          Services
     Chicago, IL 60601
     Quinn Emanuel Urquhart &                  Michael Liftik                   Legal                                                                      $83,632
8                                              (202) 538-8141
     Sul865 S. Figueroa St
     10th Floor                                michaelliftik@quinnemanuel.com   Services
     Los Angeles, CA 90017



    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                      page
                         Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 13 of 21


    Debtor       GWG Holdings, Inc.
                 _______________________________________________________                          Case number (if known)_____________________________________
                 Name




     Name of creditor and complete            Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code      email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                              contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional           unliquidated,   total claim amount and deduction for value of
                                                                            services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff

     Atomic Data LLC
9    250 Marquette Ave South
                                                                            IT Services                                                                 $74,936
                                             Christi Gatto
     Suite 225
     Minneapolis, MN 55401                   christi@atomicdata.com


10
   Locke Lord LLP                            J.B. McKnight                  Legal                                                                       $71,916
   2200 Ross Ave                             (214) 740-8000
   Suite 2800                                jmcknight@lockelord.com
                                                                            Services
   Dallas, TX 75201
   Murphy & McGonigle, P.C.                  Robert Howard, Jr.             Legal                                                                       $67,695
11
   4870 Salder Rd.                           (202) 661-7015
   Suite 301                                 Robert.Howard@mmlawus.com      Services
   Glen Allen, VA 23060
12   PricewaterhouseCoopers LLP Ailen Okharedia                             Consulting/                                                                 $66,864
     P.O. Box 952282            (201) 310-9239
                                ailen.a.okharedia@pwc.com
                                                                            Professional
     Dallas, TX 75395
                                                                            Services
13
   Maslon LLP                                                               Legal                                                                       $54,202
   3300 Wells Fargo Center
   90 South 7th Street
                                             Rikke Dierssen-Morice          Services
                                             (612) 672-8389
   Minneapolis, MN 55402                     rikke.morice@maslon.com

14
   Broadridge Investor                       Lisa Olen                General and                                                                       $47,027
   Communication Solutions, Inc.             (631) 254-7422           Administrative
   PO Box 416423                             lisa.olen@broadridge.com Services
   Boston, MA 02241-6423
15   Haynes and Boone, LLP                   Matt Fry                       Legal                                                                       $46,318
                                             matt.fry@haynesboone.com
     PO Box 841399                           (214) 651-5443
                                                                            Services
     Dallas, TX 75284-1399
     Aon Insurance Managers (Bermuda) Ltd.   Choisel Murray
16 Aon House                                                                Consulting/                                                                 $40,000
                                             (441) 278-1750
     30 Woodburne Ave.
                                             choisel.d.murray1@aon.com      Professional
     Pembroke Parish
     HM 08 Bermuda                                                          Services
   K&L Gates LLP                             Andy Skouvakis                 Legal                                                                       $38,961
17
   600 N. King St.                           (302)146-7076
   Suite 901                                 Andy.Skouvakis@klgates.com     Services
   Wilmington, DE 19801
18
   Appleby (Bermuda) Ltd.                    Alan Bossin                    Consulting/                                                                 $34,785
   22 Victoria Street                        (441) 298-3536
   PO Box HM 1179                            ABossin@applebyglobal.com      Professional
   Hamilton, HM EX Bermuda                                                  Services
19
   Whitley Penn LLP                                                         Audit                                                                       $22,816
   640 Taylor Street                         Cecil Jones
   Suite 2200                                (214) 393-9424                 Services
   Fort Worth, TX 76102                      Cecil.Jones@whitleypenn.com

20   Presswrite Printing, Inc.                                              Marketing                                                                   $18,516
                                             Kim Saffell
     3384 Brownlow Avenue                    (952) 920-0014
                                                                            Services
     Minneapolis, MN 55426                   kim@presswrite.com




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                      page 2
                        Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 14 of 21


  Debtor         GWG Holdings, Inc.
                 _______________________________________________________                           Case number (if known)_____________________________________
                 Name




     Name of creditor and complete          Name, telephone number, and      Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional           unliquidated,   total claim amount and deduction for value of
                                                                             services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                    Total claim, if    Deduction for       Unsecured
                                                                                                                    partially          value of            claim
                                                                                                                    secured            collateral or
                                                                                                                                       setoff

21 Baker Tilly Virchow Krause, LLP                                           Tax Services                                                                $18,378
     PO Box 78975                          Matt Jeffries
     Milwaukee, WI 53278-8975              (972) 748-0254
                                           matt.jeffries@bakertilly.com
22
   Cubik Promotions Inc.                                                     Marketing                                                                   $18,284
   500 Airport Rd.                         Janel Forbrook
   Suite 211                               (800) 554-2706                    Services
   Redwood Falls, MN 56283                 accounts@cubikpromo.com
23
   Emerson Equity LLC                                                        Broker                                                                      $18,000
   155 Bovet Road                          Melinda Leishman
   Suite 725                               (214) 974-0768                    Services
                                           mleishman@mbdsolutions.com
   San Mateo, CA 94402
24
   Securities Transfer Corporation         Patricia Stephen                  Outside                                                                     $15,622
   2901 N. Dallas Parkway, Suite           pstephan@stctransfer.com
   380
                                                                             Services
                                           (469) 633-0101
   Plano, TX 75093
25
   Financial Advisors LLC                  Donald Gorowsky                   Consulting/                                                                 $12,870
   706 2nd Ave S.
   Suite 850, 706 Building
                                           (612) 332-3280                    Professional
   Minneapolis, MN 55402                   Don@fa-llc.com
26   New Tangram, LLC                      Danielle Stevens                  Facilities                                                                  $12,379
     9200 Sorensen Ave                     (214) 902-7251
     Santa Fe Springs, CA 90670

27
   National Securities Clearing                                              Outside                                                                     $11,568
   Corporation                             Joanne Aclao
   55 Water Street                         (888) 382-2721                    Services
   New York, NY 10041                      DTCCCreditControl@dtcc.com
   Intrado Digital Media, LLC              Louis Brucculeri                  Marketing                                                                   $11,295
28
   Office of General Counsel               donnacarl.coronel@notified.com
   770 N. Halsted St., Suite 6S
                                                                             Services
                                           (402) 702-1172
   Chicago, IL 60642
   White Oak Security, Inc.                Barbara Wickoren
29                                         (612) 701-5533
                                                                             IT                                                                          $10,808
   3300 Plymouth Blvd.
                                           accounting@whiteoaksecurity.com
   #46243
   Plymouth, MN 55447
30
   Richards, Layton & Finger, P.A.         C. Stephen Bigler                 Legal                                                                       $9,544
   One Rodney Square
   920 North King Street
                                           bigler@rlf.com                    Services
   Wilmington, DE 19801                    (302) 651-7724




  Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                       page 2
        Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 15 of 21




                                 RESOLUTIONS OF THE
                                BOARD OF DIRECTORS OF
                                  GWG HOLDINGS, INC.

                                     Adopted April 19, 2022

         WHEREAS, the Board of Directors (the “Board”) of GWG Holdings, Inc. (the
“Company”), based on its business judgment and acting in the best interests of the Company, its
creditors, and other parties in interest, has reviewed and considered the financial and operational
condition of the Company and the Company’s business on the date hereof, including the
historical performance of the Company, the assets of the Company, the current and long-term
liabilities of the Company and credit market conditions; and

       WHEREAS, the Board has had the opportunity to consult with the management (the
“Management”) and the financial and legal advisors to the Company (the “Advisors”) and fully
consider each of the strategic alternatives available to the Company.

       NOW, THEREFORE, BE IT:

Filing and Prosecution of Bankruptcy Case

       RESOLVED, that in the business judgment of the Board, with the advice of the
Management and Advisors, it is desirable and in the best interests of the Company (including a
consideration of its stockholders, creditors and other parties in interest) that the Company shall
be, and hereby is, authorized to file, or cause to be filed, a voluntary petition for relief (the
“Chapter 11 Case”) under the provisions of chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of Texas
(the “Bankruptcy Court”); and

        FURTHER RESOLVED, that the Chief Executive Officer, the Chief Financial Officer,
or any other duly appointed officer of the Company (collectively, the “Authorized
Signatories”), acting alone or with one or more other Authorized Signatories be, and they
hereby are, authorized, empowered and directed to execute and file on behalf of the Company
all petitions, schedules, lists, retention of professionals, and other motions, papers, or
documents, and to take any and all action that they deem necessary or proper to obtain such
relief, including, without limitation, any action necessary to maintain the ordinary course
operation of the Company’s business.

Restructuring Transactions and Documents

        RESOLVED, that the Authorized Signatories, acting alone or with one or more other
Authorized Signatories be, and hereby are, authorized and empowered, with full power of
delegation, to enter into, in the name of and on behalf of the Company, a restructuring
transaction or series of restructuring transactions by which the Company will restructure its
debt obligations or other liabilities (collectively, the “Restructuring Transactions”);




                                                1
        Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 16 of 21




        FURTHER RESOLVED, that the Authorized Signatories, acting alone or with one or
more other Authorized Signatories be, and hereby are, authorized and empowered, with full
power of delegation, to take, or cause to be taken, any and all such other and further action, and
to execute (under the common seal of the Company, if appropriate), acknowledge, deliver, and
file any and all such agreements, certificates, instruments, and other documents in furtherance
of the Restructuring Transactions to which the Company is or will be a party (collectively, the
“Restructuring Documents”), to incur and pay or cause to be paid all authorized fees and
expenses and engage such persons, in each case, in the form or substantially in the form thereof
submitted to the Board, with such changes, additions and modifications thereto as the
Authorized Signatories executing the same shall, in their absolute discretion approve, such
approval to be conclusively evidenced by such Authorized Signatories’ execution and delivery
thereof; and

       FURTHER RESOLVED, that the Authorized Signatories be, acting alone or with one
or more other Authorized Signatories, and hereby are, authorized, directed and empowered in
the name of, and on behalf of, the Company to take any and all actions to (i) obtain approval by
a court of competent jurisdiction or any other regulatory or governmental entity of the
Restructuring Documents in connection with the Restructuring Transactions, and (ii) obtain
approval by any court of competent jurisdiction or any other regulatory or governmental entity
of any Restructuring Transactions.

Retention of Professionals

        RESOLVED, that the Authorized Signatories be, acting alone or with one or more other
Authorized Signatories, and they hereby are, authorized and directed to employ the law firm of
Mayer Brown LLP (“Mayer Brown”) as general bankruptcy counsel to represent and assist the
Company in carrying out its duties under the Bankruptcy Code, and to take, at the direction of
the Authorized Signatories acting singly or jointly, any and all actions to advance the
Company’s rights and obligations, including filing any motions, objections, replies,
applications, or pleadings; and in connection therewith, the Authorized Signatories, with power
of delegation, are hereby authorized and directed to execute appropriate retention agreements,
pay appropriate retainers, and to cause to be filed an appropriate application for authority to
retain the services of Mayer Brown;

        FURTHER RESOLVED, that the Authorized Signatories be, acting alone or with one
or more other Authorized Signatories, and they hereby are, authorized and directed to employ
the firm of FTI Consulting, Inc. (“FTI”) as financial advisor to represent and assist the
Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions,
at the direction of the Authorized Signatories acting singly or jointly, to advance the Company’s
rights and obligations, and in connection therewith, the Authorized Signatories, with power of
delegation, are hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain
the services of FTI;

        FURTHER RESOLVED, that the Authorized Signatories be, acting alone or with one
or more other Authorized Signatories, and they hereby are, authorized and directed to employ
the firm of PJT Partners (“PJT”) as investment banker to represent and assist the Company in


                                                2
        Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 17 of 21




carrying out its duties under the Bankruptcy Code, and to take any and all actions, at the
direction of the Authorized Signatories acting singly or jointly, to advance the Company’s
rights and obligations, and in connection therewith, the Authorized Signatories, with power of
delegation, are hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain
the services of PJT;

         FURTHER RESOLVED, that the Authorized Signatories be, acting alone or with one
or more other Authorized Signatories, and they hereby are, authorized and directed to employ
the firm of Donlin Recano & Company (“DRC”) as notice and claims agent to represent and
assist the Company in carrying out its duties under the Bankruptcy Code, and to take any and
all actions , at the direction of the Authorized Signatories acting singly or jointly, to advance the
Company’s rights and obligations; and in connection therewith, each of the Authorized
Signatories, with power of delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed appropriate
applications for authority to retain the services of DRC; and

        FURTHER RESOLVED, that the Authorized Signatories be, acting alone or with one
or more other Authorized Signatories, and they hereby are, with power of delegation,
authorized, empowered and directed to execute and file all petitions, schedules, motions, lists,
applications, pleadings, and other papers and, in connection therewith, to employ and retain all
assistance by legal counsel, accountants, financial advisors, and other professionals and to take
and perform any and all further acts and deeds that each of the Authorized Signatories deem
necessary, proper, or desirable in connection with the Company’s Chapter 11 Case, with a view
to the successful prosecution of such case.

Cash Collateral, Debtor-in-Possession Financing, and Adequate Protection

       RESOLVED, that the Company will obtain benefits from the incurrence of debtor-in-
possession financing obligations (the “DIP Financing”) in the form, terms and provisions of the
agreement (the “DIP Credit Agreement”) to be entered into by the Company and GWG Life,
LLC, as borrowers, GWG Life USA, LLC, GWG MCA Capital, Inc., GWG DLP Funding V
Holdings, LLC and GWG DLP Funding V, LLC, as guarantors, National Founders LP, as
administrative agent and collateral agent (the “DIP Agent”), and the lenders from time to time
thereunder (the “DIP Lenders”);

       FURTHER RESOLVED, that in order to use and obtain the benefits of (a) the DIP
Financing and (b) cash collateral, and in accordance with section 363 of the Bankruptcy Code,
the Company will provide certain protections to the DIP Agent and the DIP Lenders, as
documented in the proposed interim and final orders (collectively, the “DIP Orders”) reviewed
by the Board and submitted for approval to the Bankruptcy Court;

        FURTHER RESOLVED, that the form, terms, and provisions of the DIP Credit
Agreement, the DIP Orders to the DIP Credit Agreement, and such other agreements,
certificates, instruments, receipts, petitions, motions, or other papers or documents to which the
Company is or will be a party, including, but not limited to, any security and pledge agreement,
guaranty agreement or other Credit Document (as defined in the DIP Credit Agreement)
(collectively with the DIP Orders, the “DIP Credit Documents”), to which the Company is or

                                                  3
        Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 18 of 21




will be subject, and the actions and transactions contemplated thereby be, and hereby are
authorized, adopted, and approved, and each of the Authorized Signatories of the Company be,
and hereby is, authorized and empowered, in the name of and on behalf of the Company, to
take such actions and negotiate or cause to be prepared and negotiated and to execute, deliver,
perform, and cause the performance of, the DIP Credit Documents, incur and pay or cause to
be paid all authorized fees and expenses and engage such persons, in each case, in the form or
substantially in the form thereof submitted to the Board, with such changes, additions, and
modifications thereto as the Authorized Signatories executing the same shall approve, such
approval to be conclusively evidenced by such officers’ execution and delivery thereof;

       FURTHER RESOLVED, that the Company, as a debtor and debtor in possession under
the Bankruptcy Code be, and hereby is, authorized to undertake any and all related transactions
with the DIP Agent, the DIP Lenders and their affiliates on substantially the same terms as
contemplated under the DIP Credit Documents including the effectuation of the DLP VII
Option (as defined in the DIP Credit Agreement) or any similar transaction (collectively, the
“DIP Transactions”), including granting liens on its assets to secure such obligations;

        FURTHER RESOLVED, that the Authorized Signatories of the Company be, and
hereby are, authorized and directed, and each of them acting alone hereby is, authorized,
directed, and empowered in the name of, and on behalf of, the Company, as a debtor and
debtor-in-possession, to take such actions as in their discretion is determined to be necessary,
desirable, or appropriate and execute the DIP Transactions, including execution and delivery of
(a) the DIP Credit Documents; (b) such other instruments, certificates, notices, assignments,
and documents as may be reasonably requested by the DIP Agent; and (c) such deposit account
control agreements, officer’s certificates, and compliance certificates as may be required by the
DIP Credit Documents;

        FURTHER RESOLVED, that each of the Authorized Signatories of the Company be,
and hereby are, authorized, directed, and empowered in the name of, and on behalf of, the
Company to file or to authorize the DIP Agent to file any Uniform Commercial Code (“UCC”)
financing statements, any other equivalent filings, any intellectual property filings and
recordation and any necessary assignments for security or other documents in the name of the
Company that the DIP Agent deems necessary or appropriate to perfect any lien or security
interest granted under the DIP Credit Documents and/or the DIP Orders, including any such
UCC financing statement containing a generic description of collateral, such as “all assets,”
“all assets of the debtor, whether now owned or existing or at any time hereafter acquired or
arising and wheresoever located, and all proceeds and products thereof” and other similar
descriptions of like import, and to execute and deliver, and to record or authorize the recording
of, such mortgages and deeds of trust in respect of real property of the Company and such other
filings in respect of intellectual and other property of the Company, in each case as the DIP
Agent may reasonably request to perfect the security interests of the DIP Agent under the DIP
Credit Documents and/or the DIP Orders;

       FURTHER RESOLVED, that each of the Authorized Signatories of the Company be,
and hereby are, authorized, directed, and empowered in the name of, and on behalf of, the
Company to take all such further actions, including, without limitation, to pay or approve the
payment of all fees and expenses payable in connection with the DIP Transactions and all fees


                                                4
        Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 19 of 21




and expenses incurred by or on behalf of the Company in connection with the foregoing
resolutions, which shall in their sole judgment be necessary, proper, or advisable to perform the
Company’s obligations under or in connection with the DIP Orders and the transactions
contemplated therein and to carry out fully the intent of the foregoing resolutions;

       FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized and empowered to execute and deliver any amendments, supplements, modifications,
renewals, replacements, consolidations, substitutions, and extensions of the DIP Credit
Documents which shall in their sole judgment be necessary, proper, or advisable; and

        FURTHER RESOLVED, that all acts and actions taken by the Authorized Signatories
prior to the date hereof with respect to the transactions contemplated by the DIP Credit
Documents and/or the DIP Orders be, and hereby are, in all respects confirmed, approved, and
ratified.

General Authorizing Resolutions

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon
the Authorized Signatories, each of the Authorized Signatories (and their designees and
delegates) be, and they hereby are, authorized and empowered, in the name of and on behalf of
the Company, to take or cause to be taken any and all such other and further action, and to
execute, acknowledge, deliver and file any and all such agreements, certificates, instruments
and other documents and to pay all expenses, including but not limited to filing fees, in each
case as in such Authorized Signatory’s judgment, shall be necessary, advisable or desirable in
order to fully carry out the intent and accomplish the purposes of the resolutions adopted
herein;

        FURTHER RESOLVED, that the Board of the Company has received sufficient notice
of, and advise relating to, the actions and transactions relating to the matters contemplated by
the foregoing resolutions, as may be required by the organizational documents of the Company,
or hereby waive any right to have received such notice or advice;

        FURTHER RESOLVED, that all acts, actions and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved and ratified
as the true acts and deeds of the Company with the same force and effect as if each such act,
transaction, agreement or certificate has been specifically authorized in advance by resolution
of the Board;

         FURTHER RESOLVED, that the actions and transactions described herein (i) are
necessary and convenient to the conduct, promotion and attainment of the business of the
Company, (ii) may reasonably be expected to benefit the Company, directly or indirectly, and
(iii) are fair to, and in the best interest of, the Company and its stockholders; and

       FURTHER RESOLVED, that each of the Authorized Signatories (and their designees
and delegates) be, and hereby is, authorized and empowered to take any and all actions or to
not take any action in the name of the Company with respect to the transactions contemplated

                                                5
       Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 20 of 21




by these resolutions hereunder, as such Authorized Signatory shall deem necessary or desirable
in such Authorized Signatory’s reasonable business judgment to effectuate the purposes of the
transactions contemplated herein.




                                              6
Case 22-90032 Document 1 Filed in TXSB on 04/20/22 Page 21 of 21
